     Case 2:09-cr-00015-EFS    ECF No. 786   filed 05/29/09   PageID.2115 Page 1 of 1




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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                )
 7                                              )     No. CR-09-015-EFS-22
                         Plaintiff,             )
 8                                              )     ORDER GRANTING MOTION TO
       v.                                       )     MODIFY RELEASE CONDITIONS
 9                                              )
       JACOB D. SUBLIE                          )
10                                              )
                         Defendant.             )
11                                              )

12          IT IS ORDERED that Defendant’s Motion to Modify (Ct. Rec. 783)

13    is GRANTED.    Defendant, Jacob Sublie, no longer shall be subject to

14    the release condition of home detention and instead shall be placed

15    on a curfew of 7:00 p.m. to 7:00 a.m.

16          All other conditions of release previously entered in this

17    matter shall remain in effect.

18          DATED May 29, 2009.

19
20                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING MOTION TO MODIFY RELEASE CONDITIONS - 1
